                                                   Case 4:07-cv-02577-SBA Document 19 Filed 12/07/07 Page 1 of 1



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                                           8                             IN THE UNITED STATES DISTRICT COURT
                                           9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                          10
For the Northern District of California




                                          11   REGAN CARROLL TRUST, Regan Carroll,                   No. C 07-02577 SBA
    United States District Court




                                               Trustee,
                                          12                                                         ORDER
                                                      Plaintiff,                                     [Docket No. 15]
                                          13
                                                      vs.
                                          14
                                               CITY AND COUNTY OF SAN FRANCISCO,
                                          15   SAN FRANCISCO DEPARTMENT OF
                                               BUILDING INSPECTION, SAN FRANCISCO
                                          16   BUILDING INSPECTION COMMISSION, and
                                               SAN FRANCISCO PLANNING
                                          17   DEPARTMENT,
                                          18          Defendants.
                                          19                                              /
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                                                      On May 15, 2007, plaintiff filed its initial Complaint in this action. On October 10, 2007,
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                                               defendants filed the instant motion to dismiss, and noticed it for hearing on December 11, 2007. On
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                                               October 30, 2007, plaintiff filed an amended complaint. Accordingly, IT IS HEREBY ORDERED
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                                               THAT the Court DENIES as MOOT plaintiff’s motion to dismiss [Docket No. 15], without
                                          24
                                               prejudice as to defendants reurging their arguments with respect to the amended complaint.
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                                                      IT IS SO ORDERED.
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                                          27   Dated: 12/7/07                                      SAUNDRA BROWN ARMSTRONG
                                                                                                   United States District Judge
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